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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
REBECCA CASTILLO, an individual,                              Case No. 18-cv-04345 (AT)

                                            Plaintiff,

                   - against -                                NOTICE OF APPEARANCE

ALPARGATAS USA, INC., d/b/a HAVAIANAS,
a Delaware corporation,

                                             Defendant.
----------------------------------------------------------X



         PLEASE TAKE NOTICE, that Peter T. Shapiro of Lewis Brisbois Bisgaard & Smith LLP

hereby appears in the above-captioned action as counsel for defendant ALPARGATAS USA, INC.

and respectfully requests that all communications in this matter be directed to his attention at the

address set forth below.

Dated: New York, New York
       June 8, 2018

                                                     LEWIS BRISBOIS BISGAARD & SMITH LLP


                                               By:          /s/ Peter T. Shapiro
                                                     Peter T. Shapiro
                                                     Attorneys for Defendant
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                                  CERTIFICATE OF SERVICE


         Peter T. Shapiro, an attorney duly admitted to practice before this Court, certifies that on

June 8, 2018 he caused his Notice of Appearance to be filed and served by ECF.


                                                                      /s/ Peter T. Shapiro
                                                                      Peter T. Shapiro




4851-1782-8200.1
